      Case 8:10-cv-01239-EAK-MAP Document 6 Filed 06/16/10 Page 1 of 1 PageID 65




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

STEWART RICHARD LAUER

        Plaintiff,

vs.                                             Case No.:     8:10-cv-01239-EAK-MAP

SCOTT LOWERY LAW OFFICE, P.C.

      Defendant,
___________________________________/

                                 JOINT STIPULATION OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED to by the Plaintiffs and Defendants herein by

and through their attorneys, that the above-entitled action against Defendant shall be and hereby is

dismissed with prejudice and on the merits, and that a judgment of dismissal with prejudice may be entered

in the above-entitled action pursuant hereto.

                          CERTIFICATE OF CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 16, 2010, I electronically filed the foregoing document with

the Clerk of Court using CM/ECF which will forward a copy to all parties of record. I further certify that I

mailed the foregoing document and the notice of electronic filing by First Class Mail to the following non-

CM/ECF participants: none.

DICESARE, DAVIDSON, & BARKER, P.A.                     BARRON, NEWBURGER & SINSLEY, PLLC

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